FILED

3/2/2021
LOMAS G ARUT COURT

NORTHERN DISTRICT OF ILLINOIS, EASTERN pivisiGhER

UNITED STATES DISTRICT COURT

UNITED STATES,
Plaintiff,
Case No.: 13-CR-844, US v. Leventhal
JUDGE ANDREA R. WOOD

vs.

HOWARD LEVENTHAL,

Defendant

EMERGENCY MOTION FOR INSTANTER EX PARTE INJUNCTION

Now comes defendant, Howard Leventhal, a non-attorney acting pro-se for the limited
purposes of this emergency motion. In support of this motion, Leventhal states as follows:

JURISTRICTION

1) This court has sole and superior subject matter and ancillary jurisdiction over custody of
the defendant under the instant emergency facts and law, pursuant to its Article III
powers under the constitution to vindicate its own ongoing jurisdiction matter. This
court’s juristition has been deliberately frustrated and wrongly diminished under an
elaborate scheme to defraud the court as set forth below.

2) This court also has jurisdiction to proceed as requested here under 28 USC 1446, the
Federal Removal Statute; 42 USE 1983 in defense of the civil rights of this defendant
denied under false color of law by state authorities; under Bivens to exercise injunctive
authority to remedy civil rights deprivation by federal employees; under the 8°"
amendment’s prohibition against cruel and unusual punishment; under section 3553A
to maintain the integrity of the purposes of criminal sentencing in this matter; under the
doctrine of federal supremacy; double jeopardy principals; and applicable habeas
authority under Section 2254 or other variations of the Federal Habeas Corpus statutes.

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3)

ALLEGATIONS

Upon information and belief, AUSA Hogan, the government’s attorney in this matter
has devised and executed a fraudulent scheme to deprive this court if its sole Article
3 sentencing authority, by amplifying to Hogan’s satisfaction, the defendant’s
sentencing in this matter. By Hogan’s design intending to oppress Leventhal’s right
to pursue sanctions and contempt proceedings in this matter and other self-serving
motives, Leventhal has been detained at Hogan’s direction for nearly two months in
Cook County jail. Detention has been carried out in this absence of the Miranda
warning absent of presentation to Leventhal of any charging documents
whatsoever, without bail and in violation of panoply Illinois statutes limiting the
detention of unindicted defendants.

Matters of life and death have been put at outrageous imminent risk through
Hogan’s covert actions. As the record reflects Leventhal is 64 years old and afflicted
with a life-threatening medical condition which was exacerbated during his Bureau
of Prison confinement. As Hogan himself has admitted at least twice by absence of
denial, as a direct and proximate result of such negligence, Leventhal, has no large
intestine and is suffering from rectal bleeding and ulceration of his internal surgical
intestinal reconstruction. Relief for this present condition is available only at certain
advanced teaching hospitals such as University of Chicago Medical Center where
Leventhal’s surgery was performed. Leventhal’s life is at imminent risk of grave
consequences including internal hemorrhaging bleeding out through his anus or
permanent disfigurement of a colostomy bag.

On February 28, 2021 Leventhal was transported from the Cook County jail to
Stroger Hospital. He was complaining of symptoms of conjunctivitis and rectal
bleeding. After eleven hours he was provided with eye drops and returned to the
Cook County jail without any other treatment. This event makes clear the
emergency nature of this motion.

Hogan’s actions have placed at needless risk, payment of restitution owed to the
victims in this matter in excess of $1.3 million dollars. After 18 months of
painstaking effort, Leventhal was awarded a software development contract by a
governmental agency. Said contract has been validated by attorney Quinn
Michaelis. This contract stands to bring a hefty five figure payment to the victims.
Without it the victims are unlikely to ever receive anything more than pennies from
4)

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Leventhal. Leventhal’s fraudulent detention has put this contract, already in default,
at imminent risk of cancellation.

As this court is aware Leventhal’s 96-year-old mother Lila is at end of life in a nursing
home. The callousness and cruelty involved in isolating a dying woman from her son
for self-serving purposes are simultaneously shocking to the conscience and
characteristic of Hogan, who has a decades long record of disbarment, witness
tampering and termination by his current employer. The timetable is illuminating:

On December 03, 2020, this court entered its discharge order in this matter. On
December 15, 2020 Leventhal filed a 19-count civil RICO Act lawsuit against a
number of Hogan’s DOJ and Probation colleagues as well as various Wisconsin
parties personally including Ozaukee County District Attorney Adam Gerol, issuer of
the Hogan-designed “felony” warrant. On January 03, 2021 Hogan filed his
preposterously groundless motion to vacate this court’s discharge order. Leventhal
then filed several responses including a motion for criminal contempt, a motion for
sanctions vs. various Hogan colleagues, as well as Wisconsin DA Gerol and a letter to
then Attorney General Designate Judge Merrick Garland requesting intervention.

On January 08, 2021, this court conducted a hearing during which Hogan expected
this court to obey his ludicrous demands. This court did not comply and roughly one
hour later as directed by Hogan, Leventhal was arrested by the Palatine Police
without a Miranda warning, without being shown a charging document or advised of
the specific causes for his arrest. Leventhal overheard Hogan talking on the
telephone with the Palatine Police.

During the February 16, 2021, proceeding in this matter, Hogan made deliberate
false statements to this court about his role in executing and stage directing
Leventhal’s arrest. Hogan’s actions here were an insult to the dignity and authority
of this court and its presiding judge.

The motive for Hogan’s unlawful action is clear. He slept through the early
termination proceedings, failed to deny even one of the damning allegations by
Leventhal v. his colleagues and admitted all on behalf of the government. Then
Hogan was prodded awake by his colleagues and DA Gerol. Hogan’s actions are all
designed to frustrate this court’s objectives, purposes and authority in this matter.
Hogan has acted in fear of losing his job for incompetence.

In furtherance of his fraudulent scheme, Hogan dispatched two US Marshals to
interrogate a friend of Leventhal’s on topics relating only to Leventhal’s alleged
Wisconsin behavior. It will be instructive and illuminating to obtain sworn testimony
from the two marshals, Hogan himself, and Wisconsin DA Gerol.

10) As to any “global settlement” discussion, it has become obvious to the undersigned
that no agreement to which Hogan is a signatory can be relied upon for anything.
Until such time as the DOJ assigns a different attorney for the government in this
matter, anything that Hogan has to say should be deemed automatically suspect,
prejudicial and in violation of the advocate/witness rule.

11) At day’s end, Hogan’s fraudulent arrest warrant is just like his groundless petition to
vacate Leventhal’s discharge-a bold-faced attempt to rewrite the judgement of
conviction in this matter, usurping this court’s rightful authority by surreptitious
means, violating double jeopardy principals and the 8° Amendment prohibitions
against cruel and unusual punishment, causing irreparable, serious and undue harm
to the undersigned.

EMERGENCY RELIEF SOUGHT

Leventhal seeks orders of this court on an emergency instanter ex partee basis as
follows:

1) An order removing the referenced extradition case from Illinois court to this
federal court: Illinois v. Leventhal, Cook County case #21110184201(please ask
deputy to verify); and

2) An injunction restraining both the Cook County Sheriff and Ozaukee County
Wisconsin authorities from further detaining Leventhal in custody and to
discharge Leventhal with his personal property immediately; and

3) An order temporarily re-imposing the conditions of the supervised release in this
matter, until any return date set by the court.

AUTHORIZATION

| hereby authorize attorney Quinn Michaelis to supply the following to this court
ONLY for ex partee in-camera review: 1) a copy of my referenced services
contract; 2) a copy of the physician’s report from my October 20, 2020
colonoscopy; 3) any proof she may be able to obtain from my mother’s present
admission to a nursing home.
Respectfully Submitted,
DEFENDANT PRO SE
/s/ Howard Leventhal

HOWARD LEVENTHAL
March 02, 2021
